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                               FEDERAL ELECTION COMMISSION
                               Washington, D.C. 20463

 1                                                                      Febrnary 17, 2022
 2   MEMORANDUM
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 4   TO:             The Commission
 5
 6   FROM:           Lisa J. Stevenson
 7                   Acting General Counsel
 8
 9                   Charles Kitcher
10                   Associate General Counsel for Enforcement
11
12   BY:             Mru·k Allen lJ1.«1
13                   Assistant General Counsel
14
15                   Richru·d L. Weiss     K.L.u)
16                   Attorney
17
18   SUBJECT:        MURs 7291 and 7449
19                   (DNC Services Corp./Democratic National Committee, et al.)
20                   Recommendation to Accept Signed Conciliation Agreements
21
22
23   I.     INTRODUCTION
24
25           On December 16, 2021 , the Commission found probable cause to believe that DNC
26   Services Corporation/Democratic National Committee and Virginia McGregor in her official
27   capacity as treasurer (the "DNC") violated 52 U.S.C. § 30104(b)(5)(A) and (b)(6)(B)(v) and
28   11 C.F.R. § 104.3(b)(3)(i) of the Federal Election Campaign Act of 1971, as amended (the
29   "Act") and its regulations, by failing to report the proper purpose of the funds the DNC paid to
30   Perkins Coie for work performed by Fusion GPS. 1 The Commission also found probable cause
31   to believe that Hillruy for America and Elizabeth Jones in her official capacity as treasurer
32   ("HFA") violated 52 U.S.C. § 30104(b)(5)(A) and 11 C.F.R. § 104.3(b)(4)(i) of the Act and its
33   regulations, by failing to report the proper purpose of the funds HFA paid to Perkins Coie for
34   work perf01med by Fusion GPS. 2 On December 16, 2021, the Commission approved
35   conciliation agreements for the DNC and HF A. 3

            Ce1tification ("Ce1t.") (DNC) (Dec. 17, 2021).
     2
            Ce1t. (Hillary for America) (Dec. 17, 2021).

            Ce1t. ,r 1 (Proposed CA for PC) (Dec. 17, 2021).
                                                   MUR744900325
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 1           Attached are negotiated conciliation agreements signed by counsel.
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26          We believe these settlements represent an acceptable resolution of these matters. We
27   therefore recommend that the Commission accept the signed conciliation agreements with the
28   DNC and HFA.
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30   II.     RECOMMENDATIONS
31           1. Accept the attached conciliation agreement with DNC Services
32              Corporation/Democratic National Committee and Virginia McGregor in her official
33              capacity as treasurer ;
34
35           2. Accept the attached conciliation agreement with Hillary for America and Elizabeth
36              Jones in her official capacity as treasurer; and
                                                  MUR744900326
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1           3. Approve the appropriate letters.

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